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                            Exhibit 20
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                                 WEST COAST OFFICERS MEETING
                                                           July 14, 2007
                                                            Berdoo
                                                        NEW BUSINESS
ROLL CALL: All present

BERDOO: NNB
July 15th - Summer Bash         December 9th – Toy Run          March 22, 2008 – Charter 60th Anniversary

FRISCO: We are wondering what the status is on the property return from the Laughlin case. Troy (Nomads Nv) will be asking Judge
Mahan about this when he goes to Ray Ray's (Sonoma Co') next hearing.
September 9th - Poker Run      December 8th - Christmas Party

OAKLAND: NNB
August 25th - End of Summer Party    October 20th - We will be celebrating Mike Musick's 20 year anniversary & Fuki's 30 Year
along with Sonoma's 35 & O. C. 's 10 anniversaries.
                       th           th



RICHMOND: Todd Vernon's 17 year old son has recently passed away.

NOMADS CA: The DA in Hollister has dropped the case against Rob & Bobby
September 16th -- Fall Ball @ the Mountain House

DALY CITY: NNB
August 18th - Poke Her Run      October 14th - Annual Harvest Run.

DAGO: As of 06-21-07 new hangaround William "Lil Billy" Wright II

SAN JOSE: Thanks to all that came with our charter to Hollister. Next Saturday there is a bike festival in our area, if anyone is
interested in coming with us. We're leaving our clubhouse @ 1:00 pm

SONOMA CO: We would like to host the October WCOM to coincide with our anniversary party & the combined North & South
Halloween parry, on October 20th Approved by the room today. (see meeting dates below). As of 06-20-07 new prospect Joel
“Doughboy” Silva. As of 05-18-07 Rick Talbot has quit the club. (pictures passed out)
October 14th - End of Summer Poker Run/BBQ October 20th - Charter 35th anniversary party December 12th - Toy Run/Block Party

SACTO: We are submitting a USA motion today to amend our rule concerning motions for assessments/donations. (copies passed out
and is also on your disk)

VENTURA: NNB

S.F.V.: NNB
January 01, 2008 - Charter 30th Anniversary Party

MONTEREY: Thanks to all that came to Hollister, special thanks to Santa Barbara & Fresno.
August 25th – Poker Run

VALLEJO: NNB
Sept. 16th – Summer Blow-Out

SHASTA CO: As of 06-22-07 Phil Strada quit (pictures passed out and are on your disk) Due to our low numbers we are asking to be
frozen. Decided today Shasta was frozen. The three remaining members (Billy & Red & Bobby T) will be going to Nomads Ca. July
30th next court date for Bobby T.
August 18th -- Low Coast Run October 27th - Red & White Fright Night         December 8th - Holidaze Party

ANCHORAGE: NNB
December 14th -Alaska's 25th Anniversary (party will held in Anchorage)

FAIRBANKS: NNB
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NOMADS WA: 08-01-07 is Smilin' Rick's 20th Anniversary. We'd like to know when people come to our area…… So please contact
someone from our charter.

ORANGE CO: As of 06-22-07 Parker Mitchell has left the club (pictures passed out) On the week of Sept 12th, Rod is going to be
brought to Orange Co to face additional charges
October 20th - We will be celebrating our 10th anniversary (actual date is Oct l8th) in Sonoma Co. along with their 35 Year Anniv.

CAVE CREEK: Mike was arrested in Frankfort on his way to the funeral in Italy. This is an old case going back to when he was a
member in Italy. Due to the federal forfeiture against our clubhouse it was decided to sell our half to the feds and move out. We will be
moving out next week.
October 27th - Charter 10 year anniversary party

MESA: NNB

NOMADS ARIZONA: NNB

PHOENIX: NNB

TUCSON: Chuckles will be completing his non-assoc. and will be back with US on August 4th.

MERCED CO: As of 05-20-07 new member Ron Monahan. As of 06-14-07 new prospect Chris Thissen. Our next court date is
07-23-07 On our way to Hollister Ray Ray broke his foot in traffic. The next day prospect Charlie broke his leg.

NOMADS NEVADA: As of 07-01-07 Johnny Merchant has transferred to Nomads Nevada from Cleveland. Tracy is going to do his
parole in San Jose because they won't allow him to come back to Reno while on paper.
Sept 21st - Best Breast in the West      Sep 22nd - Cathouse Run

FRESNO CO: As of 07-13-07 Mike Lynch has transferred to Santa Barbara. Thanks to all that showed up to our Thunder Run

DENVER: NNB

SANTA CRUZ: New officers President - Chris VP - Brian Secretary - Ricky Treasurer - Hector SAA - Justin Our charter anniversary
celebration has been changed from July 21st to August 25th (actual date 07/22/02) August 18th - Aces & Eights annual Poker Run.
December 15th - Christmas Ball. Phil is home and doing well. He will be receiving treatments every 2-3 weeks. Thank you to all who
sent cards.
August 25th - Charter’s 5 year anniversary party (actual date 02/22/02) also Justin Harrah 5 Year Anniversary Party
August 18th - Aces & Eights annual Poker Run         December 15th - Christmas Ball

LAS VEGAS: Cornbread's prelim hearing is scheduled for July 23rd.
September 29th – 5th Annual Strip Poker Run

R'SIDE: New president - Paul. Concerning the incident in Portugal, Adam is taking steps to meet with members from France.
August18th -Party @ the Roadhouse.

SANTA BARBARA: As of 07-13-07 Mike Lynch has transferred from Fresno Co. As of 07-05-07 new prospect John Whitaker.
Happy Anniversary to Denver. We heard from Chad (Dago) who said if anyone is going to Sturgis they may be able to get in and visit
with him ... he is in Rapid City.

SIN CITY: As of 07-03-07 prospect Brian has quit. (pictures passed out) Congratulations to Ray Ray (Sonoma Co) on his
new baby. July 21st - Pre Sturgis party (flyers passed out)
July 21st - Pre Sturgis party

EAST COAST: J.C. (Rochester) attended for the East Coast. ECOM notes were read and are on your disk.

                                                       GENERAL BUSINESS

    Concerning Sonoma Co's motion from last month .... This is a California issue and was voted on today by California only.
    We need to schedule a USA Run -2008, committee meeting ASAP. As per our roles, we need to announce the location of the run
     by January 1st when the money is due.
    The History Channel interview was brought up and questioned today. Answers to come next month??
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                                                        TRAILING REMINDERS

        (03/10/07) .... Due to inappropriate behavior by people at recent past runs, it is being brought up that everyone should conduct
        themselves in a more civilized fashion.
       (10/21/06) ...To make things go quicker at the end of the WCOM's please bring your disk empty of all files. Thank you-
       (10/21/06) ... We spoke awhile back about the MySpace.com website and that members should not be using the club name or
        deathheads on their personal sites. If anyone still has this kind of content on their site... it needs to be taken off ASAP.
       (09/16/06) ... In addition to submitting the proper "out forms" on the disks, there should also be hard copies passed out at the
        WCOM's IN COLOR.
       (03/1 I/66) ... To all charters having a funeral, try to give enough lead time (i.e. a week) for a good attendance and to allow people
        to get good airfares.
       (11/14/05) ... For future reference: There have been accounts set up by Mike for our West Coast Donations.
             o 1st account: for West Coast parties, runs, monthly donations etc. Checks or money orders payable to "H.A.M.C. West
                 Coast"
             o 2nd account: for USA Runs - Checks or money orders payable to "USA Run"
             o 3rd account: for World Runs - Checks or money orders made payable to "World Run"
             o All donations to be sent to:
                        North End Choppers CIO Mike Lynch
                        4770 East Carmen Avenue
                        Fresno, California 93703 _
       (02/15/05) .... When a charter changes their email address they need to send notice of that change to Cadu (Brazil)
        postmaster@hells-angels.com so he can update the address book that he sends out to everyone periodically.

                                                       MOTIONS FROM TODAY

       USA-07-14-07-02 (Sacramento) To amend our existing rule concerning motions on assessments/donations. (motion passed out)

                                                         MOTIONS FROM JUNE

       WC-06-16-07-02 (Sonoma Co) To bring the membership of Shasta Coup for their patches.
                                                  W.C. 134 YES        86 N0
                                           Required 2/3's 147 MOTION FAILED

                                                 WORLD MOTIONS FROM JUNE 2007

       WOM 06-01-07-01 (Denmark) All future votes concerning new countries are voted on by members and not by countries. One man
        one vote and 3/4 majority.
                                           W.C.       YES                        NO
                                           E.C.       YES                        NO
                                   World Total       YES                        NO
                                        Required 2/3's                       MOTION
       WOM-06-O1-07-02 (Spain) To host the World Run in 2012
                                          W.C.        YES                      NO
                                          E.C.        YES                      NO
                                   World Total        YES                      NO
                                                Required 2/3's     MOTION

                                           WORLD MOTIONS FROM DECEMBER 2006
**Note** After discussion of the motions below at the recent WOM, the tallies for will be due at the next W.O.M. which should be
somewhere around the end of the year?? So we can gather our tallies at the September WCOM.

       WOM- 11-24-06-01 (Dago) To allow the Corporation to submit motions limited only to Corporation business.
                                          W.C.     YES          NO
                                          E.C 129 YES       155 NO
                                  World Total      YES          NO
                                          Required 2/3's MOTION

       WOM-11-24-06-03 (Dago) To reverse the decision to stop wearing, displaying and making anything portraying NAZI Items.
                                          W.C.       YES         NO
                                          E.C. 247 YES 44 NO
                                 World Total         YES        NO
                                          Required 2/3’s             MOTION
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                                                 CHARTER RUN REPS - NORTH

Frisco - Chris      Oakland – Marvin        Richmond - James         Nomads Ca. - Rob
Daly City - JJ      San Jose - Steve        Sonoma Co. -Nick         Sacto – Matt
Monterey - Danny    Vallejo - Steve         Shasta Co - Billy T      Nomads Wa. – Steve
Merced Co. - Ray    Nomads Nev. - Troy                               Santa Cruz - Mickey

                                                 CHARTER RUN REPS - SOUTH

Berdoo - Jeff             Dago - Steve              Ventura – Joe            SFV - P.J.
O.C. - Jose               Cave Creek - Spa Bob      Mesa – BL                Nomads Az - Rick
Phoenix -J.D.             Tucson-Mac                Las Vegas -O.B.          R' Side - Atom
Santa Barbara - Archie    Denver - Mike             Fresno Co. - Mike        West Vegas-Pee Wee

                                      NORTH RUN - SEPTEMBER 07-09
                   COMBINED NORTH & SOUTH HALLOWEEN PARTY-OCTOBER 20TH IN SONOMA CO.
                                         NEW YEARS EVE PARTY -

                                                           MEETINGS

    USA RUN:        Aug. 11,2007 @ 10:00 am in Oakland
  NORTH RUN:        Aug. 11, 2007 @ 11:00 am in Oakland
      WCOM:         Aug. 11, 2007 @ 12:00 pro in Oakland
       EURO:        Aug. 24, 2007 @ 03:00 pro in South End Denmark
      ECOM:         Sept. 08, 2007 @ 02:00 pro in Providence
      WCOM:         Sept. 15, 2007 n 12:00 pm in Berdoo
       CORP:        Oct. 19, 2007 @ 8:00 pro in Sonoma Co
      WCOM:         Oct. 20, 2007 @ 12:00 pro in Sonoma Co.
      WCOM:         Nov. 17, 2007 @ 12:00 pro in Berdoo
      WCOM:         Dec. 15, 2007 @ 12:00 pro in Oakland
